               Case 2:21-cr-00147-TOR             ECF No. 3          filed 10/19/21     PageID.5 Page 1 of 1


                                              CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   Juan Jose Nunez                 CASE NO.                                   2:21-CR-147-TOR-1
                                                                                             ______________________
                                                                                                             FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                                                                                   EASTERN DISTRICT OF WASHINGTON
                                                    ✔
                                    1
                TOTAL # OF COUNTS: _______      _________FELONY      _________MISDEMEANOR    _________PETTY OFFENSE
                                                                                                    Oct 19, 2021
                                                                                                        SEAN F. MCAVOY, CLERK



Count            Statute                   Description of Offense                                     Penalty
                                                                            CAG not less than 10 years up to a life term; a fine not to
                                                                            exceed $10,000,000; not less than 5 years up to a life term
                                                                            of supervised release; a $100 special penalty assessment;
                                                                            and denial of certain federal benefits pursuant to 21 U.S.C.
                                                                            §§ 862 and 862a.

        21 U.S.C. §§ 841(a)(1),   Conspiracy to Distribute 50 Grams or  If found to have one qualifying serious drug felony
  1
        (b)(1)(A)(vii), 846       More of Actual (Pure) Methamphetamine offense:

                                                                            CAG not less than 15 years up to a life term; and/or a fine
                                                                            not to exceed $20,000,000; not less than 10 years up to a
                                                                            life term of supervised release; a $100 special penalty
                                                                            assessment; and denial of certain federal benefits pursuant
                                                                            to 21 U.S.C. §§ 862 and 862a.


        21 U.S.C. § 853           Notice of Forfeiture Allegations
